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                 EXHIBIT B-151
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             IN THE SUPERIOR COURT OF FULTON COUN
                                                                                       FICE
                         STATE OF GEORGIA
                                                                          APR2 8 2023
                                                                      DEPUTYCL R SUPERIORCOURT
IN RE: SPECIAL PURPOSE GRAND )                Case No.: 2022-EX-00 024    FULTONCOUNTY.GA

JURY                         )
                                       )      Hearing Requested
                                       )

 MOTION JOINING THE TRUMP MOTION TO QUASH, TO ENJOIN THE
   PRODUCTION OR USE OF THE SPECIAL PURPOSE GRAND JURY
REPORT AND ANY EVIDENCE DERIVED FROM THE SPECIAL PURPOSE
 GRAND JURY, AND TO DISQUALIFY THE FULTON COUNTY DISTRICT
                     ATTORNEY'S OFFICE

      NOW COMES Cathleen          A. Latham     ("Mrs. Latham"),   by and through

undersigned counsel, and files this Motion Joining the Trump Motion to Quash, to

Enjoin the Production or Use of the Special Purpose Grand Jury ("SPGJ") Report, and

the Use of Any Evidence Derived From The Special Purpose Gra11d Jury, and to

Disqualify the Fulton County District Attorney's Office ("Motion") in the above-

referenced matter. Specifically, the Motion adopts and joins the Motion to Quash the

Special Purpose Grand Jury Report, to Preclude the Use of Any Evidence Derived

Therefrom, and to Recuse Fulton County District Attorney's Office filed by Donald J.

Trump on March 20, 2023 (the "Trump Motion"). Both motions seek to enjoin the

publication or use of the SPGJ Report and to preclude any State prosecuting agency

from presenting or utilizing any evidence or testimony derived by the SPGJ in the

above-referenced matter. Additionally, both motions request that the Fulton County

District Attorney's Office be disqualified and enjoined from any further involvement

in this matter for the reasons set forth therein. This Motion is based on the Fifth,
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Sixth, and Fourteenth Amendments to the United States Constitution and Ga. Const.

Art. I,§ I, Paras. I and XVI, and all other applicable federal and state laws.

                        INCORPORATION BY REFERNCE

      Mrs. Latham hereby adopts and joins in the "Motion to Quash the Special

Purpose Grand Jury Report, to Preclude the Use of Any Evidence Derived Therefrom,

and to Recuse Fulton County District Attorney's Office," filed by counsel for Donald

J. Trump on March 20, 2023, which is incorporated herein by reference in its entirety,

with additional claims for injunctive relief as set forth herein.

                                      STANDING

      Mrs. Latham,     a retired schoolteacher, is one of sixteen (16) duly selected

Georgia Republican Party presidential     electors in 2020 whose actions have been a

subject of the SPGJ. The Fulton County District Attorney has indicated in writing

that Mrs. Latham is a "target" of the SPGJ. Mrs. Latham, therefore, has standing to

bring this Motion. See, e.g., Bo Fancy Prods. v. Rabun Cty. Rd. Comm 'rs, 267 Ga 341,

344 (1996).

                               INJUNCTIVE RELIEF

      In addition to the relief sought in the Trump Motion, Mrs. Latham also seeks

injunctive relief (1) prohibiting the Fulton County District Attorney's Office (or any

other prosecuting arm of the State) from publishing or using the SPGJ report or any

evidence presented to the SPGJ in any future grand jury or legal proceeding, and (2)

enjoining the Fulton County District Attorney's Office from any further participation

in this investigation or any subsequent indictments or prosecutions relating to the



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same because of her ongoing, actual disqualifying conflict of interest previously found

by this Court and as further established in the Trump Motion.

        "Generally, a writ of injunction may be used to enjoin illegal conduct for which

no adequate remedy is provided at law." W. Sky Fin., LLC v. State ex rel. Olens, 300

Ga. 340, 350 (2016). A prospective or ongoing violation of a constitutional                       right

constitutes irreparable      injury for purposes of injunctive relief. Gordon v. Holder, 721

F.3d 638, 653 (D.C. Cir. 2013) (citations omitted). 1

        The actions described warrant           the Fulton County District Attorney's Office

being precluded from presenting          any evidence or testimony obtained by means of the

SPGJ to a regular Grand Jury. The guarantee of the Fifth Amendment to the United

States Constitution       that "[n]o person shall be held to answer for a capital, or

otherwise infamous crime, unless on a presentment              or indictment of a Grand Jury ... ,"

U.S. Const. Amend. V, "presupposes an investigative body 'acting independently                        of

either prosecuting attorney or judge ... ,"' United States v. Williams, 504 U.S. 36, 49,

112 S. Ct. 1735 (1992) (emphasis added) (quoting United States v. Dionisio, 410 U.S.

1, 17-18, 93 S. Ct. 764 (1973); quoting Stirone v. United States, 361 U.S. 212, 218, 80

S. Ct. 270 (1960)). A grand jury is "'free to pursue its investigations               unhindered by

external influence or supervision so long as it does not trench upon the legitimate

rights of any witness called before it."' Id., at 48-49 (quoting Dionisio, at 17-18).



1 Because the injury from the District Attorney's Office operating under the ongoing conflict of interest

and the taint of the grand jury and the potential jury pool from that and from the disclosure or use of
the SPGJ's report and evidence could never be adequately quantified or undone in the absence of the
injunctions requested, Mrs. Latham has no adequate remedy at law. See, e.g., Young v. United States
ex rel. Vuitton Et Fils S.A., 481 U.S. 787 (1987) (recognizing that an actual conflict of interest is a
conflict that permeates the entire proceeding).

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      "Historically, (the grand jury) has been regarded as a primary security
      to the innocent against hasty, malicious and oppressive persecution; it
      serves the invaluable function in our society of standing between the
      accuser and the accused ... to determine whether a charge is founded
      upon reason or was dictated by an intimidating power or by malice and
      personal ill will."

Branzburg v. Hayes, 408 U.S. 665 n. 23, 687, 92 S. Ct. 2646 (1972) (quoting Wood u.

Georgia, 370 U.S. 375, 390, 82 S. Ct. 1364 (1962)). The actions of the Fulton County

District Attorney's Office as set forth in the Trump Motion have violated Mrs.

Latham's constitutional    rights, have tainted the evidence allegedly gathered by the

SPGJ, and have intruded upon the traditional      independence and safeguards of the

institution of the grand jury itself.

       In view of the abuses of and surrounding the Special Purpose Grand Jury by

the Fulton County District Attorney's Office and the Fulton County District

Attorney's ongoing disqualifying conflict of interest in this matter as found by this

Court and as further established in the Trump Motion as adopted herein, Mrs.

Latham respectfully requests that the publication of the SPGJ Report be

permanently enjoined and that the District Attorney's Office be enjoined from

presenting any evidence derived from the SPGJ to a regular Grand Jury. Mrs.

Latham further requests that the Fulton County District Attorney's Office be

enjoined from any further participation or involvement in this investigation and any

subsequent prosecutions in this matter because of the actual disqualifying conflict

already found by this Court and for the additional and ongoing conflicts set forth in

the Trump Motion. Any such presentation or involvement would necessarily

involve evidence obtained in violation of Mrs. Latham's state and federal

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constitutional rights, including her Fifth and Sixth Amendment rights and their

state equivalents.

      Based on the foregoing constitutional infirmities Mrs. Latham is entitled to

permanent injunctive relief under Georgia law as follows:

       (1)    The SPGJ actions be quashed in their entirety and any and every state

entity be enjoined from presenting or utilizing any evidence or testimony derived by

the SPGJ; and

       (2)    The Fulton County District Attorney's Office be disqualified from any

further involvement in this SPGJ proceeding or any other investigation or

prosecution relating to this matter.

       WHEREFORE, Cathleen A. Latham respectfully pray the Court as follows:

       1.     The report of the SPGJ is quashed and expunged from the record;

       2.     All evidence derived from the SPGJ is suppressed as

unconstitutionally   derived and any prosecuting body be prevented from its use;

       3.     The Fulton County District Attorney's Office be disqualified from any

further investigation and/or prosecution of this matter or any related matter;;

       4.     For permanent injunctive relief as follows:

              a.      The SPGJ actions be quashed in their entirety and any and

                     every state entity be enjoined from presenting or utilizing any

                     evidence or testimony derived by the SPGJ; and




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            b.     The Fulton County District Attorney's Office be disqualified and

                   enjoined from any further involvement in any investigation or

                   prosecution of this matter; and

      5.     Mrs. Latham further respectfully requests that this Motion be heard

by the Chief Judge (or other duly assigned judge separate from the Supervising

Judge), and that she be granted a hearing on the merits of this Motion.



      Respectfully submitted this the 28 th day of April, 2023.

                                              SHANAHAN LAW GROUP, PLLC

                                       By:       IC.~~~
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             IN THE SUPERIOR COURT OF FULTON COUNTY
                         STATE OF GEORGIA


IN RE: SPECIAL PURPOSE GRAND )               Case No.: 2022-EX-000024
JURY                         )
                                     )
                                     )


                         CERTIFICATE OF SERVICE

       Undersigned counsel hereby confirms that on April 28, 2023 it served the
above and foregoing Motion Joining the Trump Motion to Quash, to Enjoin the
Production or use of the Special Purpose Grand Jury Report, and Any Evidence
Derived From the Special Purpose Grand Jury, and to Disqualify the Fulton County
District Attorney's Office via email and United States Mail, First Class, postage
prepaid to:

                        District Attorney Fani Willis
                        Fulton County Justice Center
                        Office of the District Attorney
                        136 Pryor St. SW, Third Floor
                        Atlanta, GA 30303
                        fani. willisda@fultoncountyga.gov

                        Drew Findling
                        Findling Law Firm
                        3575 Piedmont Road NE, Suite 1010
                        Atlanta, GA 30305
                        drew@thefindlinglawfirm.com

                                             SHANAHAN LAW GROUP, PLLC

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